      Case 4:13-cv-40067-TSH Document 21 Filed 10/25/13 Page 1 of 1



                 UNITED STATES DISTRICT COURT
                  DISTRICT OF MASSACHUSETTS



Cyganiewicz,
          Plaintiff,
                                             CIVIL ACTION
          V.
                                             NO. 13-40067-TSH
Sallie Mae, Inc.,
            Defendant,



                       ORDER OF DISMISSAL


Hillman, D. J.


     In accordance with the Court’s Memorandum and Order dated

10/24/13, granting the defendant’s motion to dismiss, it is hereby

ORDERED that the above-entitled action be and hereby is dismissed.




                                             By the Court,


    10/25/13                                /s/ Martin Castles
     Date                                   Deputy Clerk
